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                                  STATEMENT OF FACTS


       On January 7, 2021, the FBI received information that CLEVELAND GROVER
MEREDITH, JR. (hereinafter “MEREDITH”) had recently sent a text message in which he wrote,
“Thinking about heading over to Pelosi CUNT’s speech and putting a bullet in her noggin on Live
TV [purple devil emoji].” Additionally, Agents learned that MEREDITH was likely in the
Washington, DC area, and that he allegedly had firearms and ammunition.
        During the evening of January 7, 2021, FBI Agents determined that MEREDITH was
staying at the Holiday Inn located at 550 C Street SW, Washington, DC. Agents made contact
with MEREDITH in his hotel room and he granted consent to search his hotel room, his Ford
truck, a Spartan trailer that can attach to the truck, and his mobile telephone.
        Agents advised MEREDITH of his Miranda rights and he agreed to speak with Agents
without a lawyer present. MEREDITH stated that he arrived in Washington, DC from Colorado
on January 6, 2021 but he originally intended on arriving on January 5, 2021. MEREDITH arrived
too late for the rally on January 6, 2021. MEREDITH stated that he had two firearms in his truck,
and he knew that he was not supposed to have the firearms while in Washington, DC. Therefore,
he moved the firearms to his trailer.
        MEREDITH told Agents that he came to Washington, DC previously in November for a
rally and he also attended a protest outside of Governor Brian Kemp’s residence in Georgia.
MEREDITH admitted to sending text messages to friends and he showed some of them to the
Agents.
        While reviewing the text messages, I observed a text message that was sent on January 6,
2021 in which he wrote, “I’m trying but currently stuck in Cambridge, OH with trailer lights being
fixed, crappers.” MEREDITH then sent a photo of his pick up truck and his trailer. MEREDITH’s
next text in the conversation was, “Just fixed…headed to DC with a shit ton of 5.56 armor piercing
ammo [purple devil emoji].” On January 7, 2021, in a text conversation with the same individual,
MEREDITH wrote, “Thinking about heading over to Pelosi CUNT’s speech and putting a bullet
in her noggin on Live TV [purple devil emoji].” Later on January 7, 2021, the other participant
wrote, “That comment you made about Pelosi, what the fuck are you thinking. Get real nephew.”
MEREDITH replied, “Psychological warfare. I’ve been on the radar for a while now, they now
I’m harmless.” MEREDITH was utilizing a cellular phone in Washington, DC to send these text
messages on January 7, and was texting an individual located outside of Washington, DC.
        I observed a separate text message conversation that occurred on January 7, 2021 where
MEREDITH wrote, “How much u give me to go trench the Capital lawn with ma big truk?” The
other participant wrote, “Don’t do it.” MEREDITH replied, “I’m gonna run that CUNT Pelosi
over while she chews on her gums.” Later in the conversation, MEREDITH wrote, “Dead Bitch
Walking. I predict that within 12 days, many in our country will die.” MEREDITH texted a photo
of himself wearing a black face covering and then wrote, “I’m gonna walk around DC FKG with
people by yelling “Allahu ak Bar” randomly.” Later in the conversation, the other participant
wrote, “Cleve, be careful! I’m worried about you.” MEREDITH replied, “Lol, jus havin fun. My
Spy name is: DoubleODipshit.” The other participant replied, “That’s funny.” MEREDITH
replied, “Locked in my hotel room…high [smiley face with hearts emoji].”
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       During the consent search of the hotel room, Agents seized a box of suspected THC edibles
and a vial of Testosterone Cypionate/Propionate.
         By consent, agents searched MEREDITH’s trailer, and saw a Glock 19, nine millimeter
pistol, a Tavor X95 assault rifle and approximately hundreds of rounds of ammunition. The trailer
was seized and a full search will be performed.
      A records check was performed by the Metropolitan Police Department on January 8, 2021,
and MEREDITH does not possess a registration for any firearm in Washington, DC.
         Based on the foregoing, I submit that there is probable cause to believe that MEREDITH
violated 18 U.S.C. § 875(c), which makes it a crime to transmit in interstate commerce any
communication containing any threat to kidnap any person or any threat to injure the person of
another. There is also probable cause to believe that MEREDITH violated 7 D.C. Code
§ 2502.01(a) and 2506.01(a)(3) , which make it a crime to possess a firearm in Washington, DC
without being the holder of a valid registration certificate, and to possess ammunition unless it is
for a firearm that is property registered.




                                              _________________________________
                                              SPECIAL AGENT DONALD AUGUST
                                              MOCKENHAUPT
                                              FEDERAL BUREAU OF INVESTIGATION


ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH THE REQUIREMENTS
OF FED. R. CRIM. P. 4.1 BY TELEPHONE, THIS 8th DAY OF JANUARY, 2021.
                                                                               G. Michael Harvey
                                                                               2021.01.08 12:58:12 -05'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
